Case 3:23-cv-00451-DJN-MRC Document 5 Filed 05/01/24 Page 1 of 2 PageID# 12



                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Richmond Division

VINCENT ELLIOT WILSON,
     Plaintiff,

        v.                                                               Civil No. 3:23cv451 (DJN)

GOV. GLENN YOUNGKIN, et. al.,
     Defendants.

                                  MEMORANDUM OPINION

       Plaintiff, a Virginia inmate, submitted this action that was transferred to this Court by the

United States District Court for the District of Maryland. Plaintiff requested leave to proceed in

forma pauperis. The pertinent statute provides:

       In no event shall a prisoner bring a civil action [in forma pauperis] if the prisoner
       has, on 3 or more prior occasions, while incarcerated or detained in any facility,
       brought an action or appeal in a court of the United States that was dismissed on
       the grounds that it is frivolous, malicious, or fails to state a claim upon which relief
       may be granted, unless the prisoner is under imminent danger of serious physical
       injury.

28 U.S.C. § 1915(g). At the time that he filed this action, Plaintiff has at least three other actions

or appeals that have been dismissed as frivolous or for failure to state a claim. • See Wilson v.

Arthur, No. 3:23cv82 (DJN), 2023 WL 2506420, at *6 (E.D. Va. Mar. 14, 2023); Wilson v.

Burgess, No. 3:22cv662 (DJN), 2023 WL 2505863, at *5 (E.D. Va. Mar. 14, 2023); Wilson v.

Arthur, No. 3:22cv602 (DJN), 2023 WL 2507554, at *6 (E.D. Va. Mar. 14, 2023), ajf'd2023 WL

4839377 (4th Cir. July 28, 2023); Wilson v. U.S.P.S, No. 3:22cv689 (DJN), 2023 WL 1997069,

*2 (E.D. Va. Feb. 14, 2023); Wilson v. Lindsey, No. 3:23cv83 (DJN), 2023 WL 1997070, at *2

(E.D. Va. Feb. 14, 2023), ajf'd 2023 WL 4839386 (4th Cir. July 28, 2023). Plaintiffs current

complaint does not credibly suggest that he stands in imminent danger of serious physical harm.
Case 3:23-cv-00451-DJN-MRC Document 5 Filed 05/01/24 Page 2 of 2 PageID# 13



        Accordingly, his request to proceed informa pauperis will be DENIED. The action will

be DISMISSED WITHOUT PREJUDICE.

        Plaintiff remains free to submit a new complaint with the full $405 filing fee. The Court

will process such a complaint as a new civil action.

        An appropriate Final Order will accompany this Memorandum Opinion.

        Let the Clerk file a copy of the Memorandum Opinion electronically and send a copy to

Plaintiff.


                                                                              Isl
                                                            David J. Novak
                                                            United States District Judge
Richmond, Virginia
Dated: May 1, 2024




                                                2
